
REVISED OPINION
PER CURIAM.
The Florida Bar Judicial Administration Rules Committee has submitted for our consideration proposed amendments to the Florida Rules of Judicial Administration pursuant to Rule of Judicial Administration 2.130. The following is a brief explanation of the rule changes approved by this Court:
Rule 2.050(c) has been amended to provide that the chief judges of the circuit court shall be elected no sooner than February 1 of the year the chief judge’s term begins; to allow any county or circuit judge to nominate a candidate; and to permit proxy voting. The Court rejects the committee’s recommendation that the term for chief judge be extended from two to four years.
Rule 2.060(d) has been amended to require that all pleadings signed by an attor*196ney include the attorney’s Florida Bar number.
Rule 2.060(h), relating to substitution of attorneys, has been amended to require that the client be notified in advance of the proposed substitution and that the client’s written consent to the substitution be filed with the court.
Rule 2.060(i) has been amended to require an attorney withdrawing from an action to file a motion stating the reasons for withdrawal and to require the motion to be set for hearing with notice of the hearing to be served on the client and adverse parties.
Rule 2.060(j) has been amended to require that additional attorneys appearing in a pending proceeding file a notice of appearance with the court and serve a copy of the notice on all parties in the proceeding.
Rule 2.070(h) has been amended to make clear that all court reporters, including free-lance reporters, come under the rule and are officers of the court in judicial and discovery proceedings.
We approve the proposed amendment to rule 2.085(a). We reject the proposal to amend rule 2.085(c) to limit the rule to trials, but approve the proposed modification to make clear that a motion for continuance may be filed without the signature of a party when good cause has been established to excuse the signature of the party. We have modified rule 2.085(c) accordingly. This modification is also in accordance with our amendment to Florida Rule of Civil Procedure 1.460 concerning continuances. We defer consideration of the committee’s recommended amendments to rule 2.085(d).
Appended to this opinion are the amended Rules of Judicial Administration. Deletions are indicated by the use of struckth-rough type. New language is indicated by underscoring. These amendments shall become effective January 1, 1989, at 12:01 a.m.
It is so ordered.
EHRLICH, C.J., and OVERTON, McDonald, shaw, barkett, GRIMES and KOGAN, JJ., concur.
APPENDIX
RULES OF JUDICIAL ADMINISTRATION
RULE 2.050. TRIAL COURT ADMINISTRATION
(a) and (b) [No change]
(c) Selection. The chief judge shall be chosen by a majority of the circuit and county court judges within the circuit for a term of two years commencing on July 1 of each odd-numbered year, or if there is no majority, by the chief justice, for a term of two years. The election for chief judge shall be held no sooner than February 1 of the year during which the chief judge’s term commences beginning July 1. Any circuit or county court judge may nominate a candidate for chief judge and proxy voting shall be permitted. A chief judge may be removed as chief judge by the supreme court, acting as the administrative supervisory body of all courts, or may be removed by a two-thirds vote of the active judges. The purpose of this rule is to fix a two-year cycle for the selection of the chief judge in each circuit. A chief judge may serve for successive terms. The selection of the chief judge should be based on managerial, administrative, and leadership abilities. If a chief judge is to be temporarily absent, he shall select an acting chief judge from among the circuit judges. If a chief judge dies, retires, fails to appoint an acting chief judge during an absence, or is unable to perform his duties, the chief justice of the supreme court shall appoint a circuit judge to act as chief judge during the absence or disability, or until a successor chief judge is elected to serve the unexpired term. When the office of chief judge is temporarily vacant pending action within the scope of this paragraph, the duties of court administration shall be performed by the circuit judge having the longest continuous service as a judge or by another circuit judge designated by him.
*197(dHg) [No change]
RULE 2.060. ATTORNEYS
(a)-(c) [No change]
(d) Pleadings to be Signed. Every pleading and other paper of a party represented by an attorney shall be signed by at least one attorney of record in his individual name whose address¿ and telephone number, including area code, and Florida Bar number shall be stated and who shall be duly licensed to practice law in Florida or who shall have received permission to appear in the particular case as provided in subsection (b). He may be required by the court to give the address of, and to vouch for his authority to represent, the party. Except when otherwise specifically provided by an applicable rule or statute, pleadings need not be verified or accompanied by affidavit. The signature of an attorney shall constitute a certificate by him that he has read the pleading or other paper; that to the best of his knowledge, information, and belief there is good ground to support it; and that it is not interposed for delay. If a pleading is not signed or is signed with intent to defeat the purpose of this rule, it may be stricken and the action may proceed as though the pleading or other paper had not been served.
(eHg) [No change]
(h) Substitution of Attorneys. Attorneys for a party may be substituted at any time by order of court. No substitute attorney shall be permitted to appear in the absence of an order. The court may condition substitution upon payment of or security for the substituted attorney’s fee and expenses, or upon such other terms as may be just. The client shall be notified in advance of the proposed substitution and shall consent in writing to the substitution. The written consent shall be filed with the court.
(i) Withdrawal of Attorney. An attorney shall not be permitted to withdraw from an action unless the withdrawal is approved by the court. The attorney may shall file a motion for that purpose stating the reasons for withdrawal and the client's address. A copy of the motion shall be served on the client and adverse parties. The motion shall be set for hearing and notice of hearing shall be served on the client and adverse parties.
(j) Addition of Attorneys. After a proceeding has been filed in a court, additional attorneys may appear without securing permission of the court. All additional attorneys so appearing shall file a notice of appearance with the court and shall serve a copy of the notice of appearance on all parties in the proceeding.
(k) [No change]
RULE 2.070. COURT REPORTING
(a)-(g) [No change]
(h) Reporter as Officer of Court. A court reporter, whether an official court reporter or deputy court reporter not, is an officer of the court for all purposes while acting as a reporter in a judicial proceeding or discovery proceeding. He or she The court reporter shall comply with all rules and statutes governing the proceeding that are applicable to court reporters.
RULE 2.085. TIME STANDARDS FOR TRIAL AND APPELLATE COURTS
(a) Purpose. Delay causes litigants expense and anxiety. Judges and lawyers have a professional obligation to terminate conclude litigation as soon as it is reasonably and justly possible to do so. However, litigants parties and counsel shall be afforded a reasonable time to prepare and present their case.
(b) [No change]
(c) Continuances. All judges shall apply a firm continuance policy. Continuances should be few, good cause should be required, and all requests should be heard and resolved by a judge. All motions for continuance shall be in writing unless made at a trial and, except for good cause shown, shall be signed by the litigant party requesting *198the continuance as well—as the litigant’s attorney,
